Case 2:17-cv-03940-JTM-JCW Document 4 Filed 05/15/17 Page 1 of 6
Case 2:17-cv-03940-JTM-JCW Document 4 Filed 05/15/17 Page 2 of 6
Case 2:17-cv-03940-JTM-JCW Document 4 Filed 05/15/17 Page 3 of 6
Case 2:17-cv-03940-JTM-JCW Document 4 Filed 05/15/17 Page 4 of 6
Case 2:17-cv-03940-JTM-JCW Document 4 Filed 05/15/17 Page 5 of 6
Case 2:17-cv-03940-JTM-JCW Document 4 Filed 05/15/17 Page 6 of 6
